             Case 4:22-cr-00288 Document 7 Filed on 06/29/22 in TXSD Page 1 of 1
             Sealed                                                                      United States District Court
Public and unofficial staff access     UNITED STATES DISTRICT COURT                        Southern District of Texas
     to this instrument are            SOUTHERN DISTRICT OF TEXAS                             ENTERED
   prohibited by court order                  HOUSTON DIVISION                                June 29, 2022
                                                                                           Nathan Ochsner, Clerk

      UNITED STATES OF AMERICA                           §
                                                         §
                                                         §     CRIMINAL NO:
                       V.
                                                         §
                                                               SEALED
                                                         §
      COURTNEY TANGANIFE SMITH                           §
                                                         §
                                                                        4:22-cr-288
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                              ORDER FOR ISSUANCE OF BENCH WARRANT


         A         CRIMINAL INDICTMENT             has been returned against the defendant listed

      below.

         It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

      appearance, a judicial determination shall be made as to detention or release on conditions. The

      United States Government recommends to the Court the following:

      Defendant

      COURTNEY TANGANIFE SMITH

                                                               DETENTION
                                                               RELEASED ON CONDITIONS
                                                               APPEARANCE BOND IN THE
                                                               AMOUNT OF: $

         SIGNED at Houston, Texas, on                              June 29, 2022




                                                   UNITED STATES MAGISTRATE JUDGE
